            Case 23-11282-pmm                       Doc 12      Filed 05/22/23 Entered 05/22/23 17:24:09                                Desc Main
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 Fill in this information to identify the case
 Debtor name          Overlord Real Estate Holdings. LLC

 United States Bankruptcy Court for the: EASTERN DIST. OF PENNSYLVANIA

 Case number          23-11282
 (if known)                                                                                                       Check if this is an
                                                                                                                       amended filing

Official Form 206A/B
Schedule A/B: Assets -- Real and Personal Property                                                                                                12/15

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future
interest. Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also
include assets and properties which have no book value, such as fully depreciated assets or assets that were not capitalized.
In Schedule A/B, list any executory contracts or unexpired leases. Also list them on Schedule G: Executory Contracts and
Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any
pages added, write the debtor's name and case number (if known). Also identify the form and line number to which the
additional information applies. If an additional sheet is attached, include the amounts from the attachment in the total for the
pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a
fixed asset schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset
only once. In valuing the debtor's interest, do not deduct the value of secured claims. See the instructions to understand the
terms used in this form.



 Part 1:         Cash and cash equivalents

1.     Does the debtor have any cash or cash equivalents?

        No. Go to Part 2.
        Yes. Fill in the information below.

       All cash or cash equivalents owned or controlled by the debtor                                                         Current value of
                                                                                                                              debtor's interest

2.     Cash on hand                                                                                                                         $20.00

3.     Checking, savings, money market, or financial brokerage accounts (Identify all)

       Name of institution (bank or brokerage firm)                  Type of account                    Last 4 digits of
                                                                                                        account number
3.1.    Checking account - Overdrawn account                         Checking account                    0   9     5     0                ($150.00)
4.     Other cash equivalents      (Identify all)

       Name of institution (bank or brokerage firm)

5.     Total of Part 1
       Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.
                                                                                                                                          ($130.00)


 Part 2: Deposits and prepayments

6.     Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes. Fill in the information below.




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Debtor          Overlord Real Estate Holdings. LLC                                            Case number (if known)     23-11282
                Name

                                                                                                                                   Current value of
                                                                                                                                   debtor's interest
7.      Deposits, including security deposits and utility deposits

        Description, including name of holder of deposit

8.      Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent

        Description, including name of holder of prepayment

9.      Total of Part 2.
        Add lines 7 through 8. Copy the total to line 81.
                                                                                                                                                   $0.00


 Part 3: Accounts receivable

10. Does the debtor have any accounts receivable?

         No. Go to Part 4.
         Yes. Fill in the information below.
                                                                                                                                   Current value of
                                                                                                                                   debtor's interest
11. Accounts receivable

11a. 90 days old or less:                                     –                                        = .......................
                                                                                                                        
                              face amount                         doubtful or uncollectible accounts

11b. Over 90 days old:                                        –                                        = .......................
                                                                                                                        
                              face amount                         doubtful or uncollectible accounts

12. Total of Part 3
    Current value on lines 11a + 11b = line 12. Copy the total to line 82.
                                                                                                                                                   $0.00


 Part 4: Investments

13. Does the debtor own any investments?

         No. Go to Part 5.
         Yes. Fill in the information below.
                                                                                               Valuation method                    Current value of
                                                                                               used for current value              debtor's interest
14. Mutual funds or publicly traded stocks not included in Part 1

           Name of fund or stock:
15. Non-publicly traded stock and interests in incorporated and unincorporated
    businesses, including any interest in an LLC, partnership, or joint venture

           Name of entity:                                                  % of ownership:
15.1.      Double Platinum Enterprise (S Corp) dba Double
           Platinum Barbershop                                                  100%                                                               $0.00
15.2.      Berks Barber School, LLC                                             100%                                                               $0.00
15.3.      SDGM, LLC                                                             50%                                                               $0.00
16. Government bonds, corporate bonds, and other negotiable and
    non-negotiable instruments not included in Part 1

           Describe:
17. Total of Part 4
    Add lines 14 through 16. Copy the total to line 83.
                                                                                                                                                   $0.00


 Part 5: Inventory, excluding agriculture assets

18. Does the debtor own any inventory (excluding agriculture assets)?

         No. Go to Part 6.
         Yes. Fill in the information below.

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     General description                        Date of the     Net book value of     Valuation method             Current value of
                                                last physical   debtor's interest     used for current value       debtor's interest
                                                inventory       (Where available)
19. Raw materials                               MM/DD/YYYY

20. Work in progress

21. Finished goods, including goods held for resale

22. Other inventory or supplies

23. Total of Part 5
    Add lines 19 through 22. Copy the total to line 84.
                                                                                                                                   $0.00

24. Is any of the property listed in Part 5 perishable?
     No
     Yes
25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
     No
     Yes. Book value                             Valuation method                                   Current value

26. Has any of the property listed in Part 5 been appraised by a professional within the last year?
     No
     Yes
 Part 6: Farming and fishing-related assets (other than titled motor vehicles and land)

27. Does the debtor own or lease any farming or fishing-related assets (other than titled motor vehicles and land)?

      No. Go to Part 7.
      Yes. Fill in the information below.
     General description                                        Net book value of     Valuation method             Current value of
                                                                debtor's interest     used for current value       debtor's interest
                                                                (Where available)
28. Crops--either planted or harvested

29. Farm animals Examples: Livestock, poultry, farm-raised fish

30. Farm machinery and equipment (Other than titled motor vehicles)

31. Farm and fishing supplies, chemicals, and feed

32. Other farming and fishing-related property not already listed in Part 6

33. Total of Part 6.
    Add lines 28 through 32. Copy the total to line 85.
                                                                                                                                   $0.00

34. Is the debtor a member of an agricultural cooperative?
     No
     Yes. Is any of the debtor's property stored at the cooperative?
               No
               Yes
35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?
     No
     Yes. Book value                             Valuation method                                   Current value

36. Is a depreciation schedule available for any of the property listed in Part 6?
     No
     Yes
37. Has any of the property listed in Part 6 been appraised by a professional within the last year?
     No
     Yes


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 Part 7: Office furniture, fixtures, and equipment; and collectibles

38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      No. Go to Part 8.
      Yes. Fill in the information below.
     General description                                            Net book value of    Valuation method             Current value of
                                                                    debtor's interest    used for current value       debtor's interest
                                                                    (Where available)
39. Office furniture

40. Office fixtures

41. Office equipment, including all computer equipment and
    communication systems equipment and software

42. Collectibles Examples: Antiques and figurines; paintings, prints, or other
    artwork; books, pictures, or other art objects; china and crystal; stamp, coin,
    or baseball card collections; other collections, memorabilia, or collectibles

43. Total of Part 7.
    Add lines 39 through 42. Copy the total to line 86.
                                                                                                                                      $0.00

44. Is a depreciation schedule available for any of the property listed in Part 7?
     No
     Yes
45. Has any of the property listed in Part 7 been appraised by a professional within the last year?
     No
     Yes
 Part 8: Machinery, equipment, and vehicles

46. Does the debtor own or lease any machinery, equipment, or vehicles?

      No. Go to Part 9.
      Yes. Fill in the information below.
     General description                                            Net book value of    Valuation method             Current value of
     Include year, make, model, and identification numbers          debtor's interest    used for current value       debtor's interest
     (i.e., VIN, HIN, or N-number)                                  (Where available)

47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles
48. Watercraft, trailers, motors, and related accessories Examples: Boats
    trailers, motors, floating homes, personal watercraft, and fishing vessels

49. Aircraft and accessories

50. Other machinery, fixtures, and equipment (excluding farm
    machinery and equipment)

51. Total of Part 8.
    Add lines 47 through 50. Copy the total to line 87.
                                                                                                                                      $0.00

52. Is a depreciation schedule available for any of the property listed in Part 8?
     No
     Yes
53. Has any of the property listed in Part 8 been appraised by a professional within the last year?
     No
     Yes




Official Form 206A/B                           Schedule A/B: Assets -- Real and Personal Property                                         page 4
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 Part 9: Real property

54. Does the debtor own or lease any real property?

       No. Go to Part 10.
       Yes. Fill in the information below.
55.    Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
       Description and location of property          Nature and extent       Net book value of     Valuation method       Current value of
       Include street address or other description   of debtor's interest    debtor's interest     used for current       debtor's interest
       such as Assessor Parcel Number (APN),         in property             (Where available)     value
       and type of property (for example,
       acreage, factory, warehouse, apartment or
       office building), if available.

55.1. 1070 Rick Road
       Reading, PA 19605
       1070 Rick Road, Reading, PA 19605
       Purchased 3/10/2022                           Owner                                         1,700,000.                   $1,700,000.00
55.2. 905 N. 9th Street
       Reading, PA 19604
       Parcel: 13531745051205
       905 N. 9th Street, Reading, PA 19604
       Opened 12/16/2021

       FMV determined by CLR of 2.22 x
       Assessed Value (39,600) = $87,912             Owner                          $87,912.00                                            $0.00
55.3. 916 N. 9th Street
       Reading, PA 19604
       Parcel: 13530752959345
       916 N. 9th Street, Reading, PA 19604
       Mortgage 6/22/2022                            Owner                                         140,000                                $0.00
55.4. 845 N. 8th Street
       Reading, PA 19604
       Parcel: 12530760947933
       845 N. 8th Street, Reading, PA 19604
       Deed also includes 841 N 8th Street
       Parcel #12530760947921 with an
       assessed value of $7,400. 845 is
       assessed at $47,900

       FMV is determined by CLR of 2.22 x
       Assessed Value (55,300) = $122,766            Owner                                         122,766                                $0.00
55.5. 432 Schuylkill Avenue
       Reading, PA 19601
       432 Schuylkill Avenue, Reading, PA
       19601
       Houses Berks Barber School
       FMV taken from Redfin.com                     Owner                        $129,376.00                                             $0.00
56. Total of Part 9.
    Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.
                                                                                                                                $1,700,000.00

57. Is a depreciation schedule available for any of the property listed in Part 9?
     No
     Yes
58. Has any of the property listed in Part 9 been appraised by a professional within the last year?
     No
     Yes

Official Form 206A/B                          Schedule A/B: Assets -- Real and Personal Property                                              page 5
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Part 10: Intangibles and Intellectual Property

59. Does the debtor have any interests in intangibles or intellectual property?

      No. Go to Part 11.
      Yes. Fill in the information below.
     General description                                           Net book value of       Valuation method             Current value of
                                                                   debtor's interest       used for current value       debtor's interest
                                                                   (Where available)
60. Patents, copyrights, trademarks, and trade secrets

61. Internet domain names and websites

62. Licenses, franchises, and royalties

63. Customer lists, mailing lists, or other compilations

64. Other intangibles, or intellectual property

65. Goodwill

66. Total of Part 10.
    Add lines 60 through 65. Copy the total to line 89.
                                                                                                                                        $0.00

67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?
     No
     Yes
68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?
     No
     Yes
69. Has any of the property listed in Part 10 been appraised by a professional within the last year?
     No
     Yes
Part 11: All other assets

70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

      No. Go to Part 12.
      Yes. Fill in the information below.
                                                                                                                        Current value of
                                                                                                                        debtor's interest
71. Notes receivable

     Description (include name of obligor)

72. Tax refunds and unused net operating losses (NOLs)

     Description (for example, federal, state, local)

73. Interests in insurance policies or annuities

74. Causes of action against third parties (whether or not a lawsuit has been filed)

75. Other contingent and unliquidated claims or causes of action of every nature,
    including counterclaims of the debtor and rights to set off claims

76. Trusts, equitable or future interests in property

77. Other property of any kind not already listed Examples: Season tickets, country club membership

     Payments owed by SDGM, LLC for property purchases                                                                            $85,000.00
78. Total of Part 11.
    Add lines 71 through 77. Copy the total to line 90.
                                                                                                                                  $85,000.00


Official Form 206A/B                            Schedule A/B: Assets -- Real and Personal Property                                          page 6
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79. Has any of the property listed in Part 11 been appraised by a professional within the last year?
     No
     Yes
 Part 12: Summary

In Part 12 copy all of the totals from the earlier parts of the form.

      Type of property                                                             Current value of                              Current value of
                                                                                   personal property                             real property


80. Cash, cash equivalents, and financial assets.                                              ($130.00)
    Copy line 5, Part 1.

81. Deposits and prepayments. Copy line 9, Part 2.                                                   $0.00

82. Accounts receivable. Copy line 12, Part 3.                                                       $0.00

83. Investments. Copy line 17, Part 4.                                                               $0.00

84. Inventory. Copy line 23, Part 5.                                                                 $0.00

85. Farming and fishing-related assets.                                                              $0.00
    Copy line 33, Part 6.

86. Office furniture, fixtures, and equipment;                                                       $0.00
    and collectibles. Copy line 43, Part 7.

87. Machinery, equipment, and vehicles.                                                              $0.00
    Copy line 51, Part 8.

88. Real property. Copy line 56, Part 9.......................................................................................
                                                                                                                                   $1,700,000.00

89. Intangibles and intellectual property.                                                           $0.00
    Copy line 66, Part 10.

90. All other assets. Copy line 78, Part 11.                                      +          $85,000.00

91. Total. Add lines 80 through 90 for each column.                        91a.              $84,870.00          +     91b.         $1,700,000.00



                                                                                                                                                                $1,784,870.00
92. Total of all property on Schedule A/B. Lines 91a + 91b = 92.........................................................................................................




Official Form 206A/B                                        Schedule A/B: Assets -- Real and Personal Property                                                        page 7
